221 F.3d 976 (7th Cir. 2000)
    Edward Krecioch, Plaintiff-Appellant,v.United States of America, Drug Enforcement Administration, Unknown Agents of the Drug  Enforcement Administration and United States Department of Justice, Defendants-Appellees.
    No. 98-3940
    In the  United States Court of Appeals  For the Seventh Circuit
    Argued April 21, 2000Decided July 20, 2000
    
      [Copyrighted Material Omitted]
      Before Bauer, Kanne and Evans, Circuit Judges.
      Kanne, Circuit Judge.
    
    
      1
      The Drug Enforcement  Administration ("DEA") claimed several  automobiles, $71,334 in cash and three handguns  from Edward Krecioch through administrative  forfeitures after he was arrested for drug  trafficking in 1992. Acting pursuant to 19 U.S.C.  sec. 1607, the DEA mailed written notices of the  administrative forfeitures by certified mail to  Krecioch's residence. Two days later, Krecioch  pleaded guilty and his bond was revoked, sending  him to jail before the notices arrived at his  home. Krecioch filed a collateral attack on the  administrative forfeitures in district court and  argued that the DEA deprived him of due process  by failing to provide actual notice of the  pending proceedings when he was jailed. The  district court granted summary judgment for the  DEA, finding that the DEA discharged its due  process obligations. We agree with respect to all  the forfeitures except that of Krecioch's  weapons.
    
    I.  History
    
      2
      The DEA monitored Krecioch and William Truhlar's  cocaine trafficking operation for more than a  year before arresting Truhlar on July 8, 1992.  That day, in Krecioch's presence, the DEA seized  $2,150 in cash, a 1989 Lincoln limousine and a  1988 Chevrolet Blazer from the operation's main  place of business, Billy T's Limousine Service in  Palos Hills, Illinois. The DEA later that day  seized two kilograms of cocaine, marijuana,  assorted drug paraphernalia, three handguns and  $69,184 from Krecioch's residence. The DEA  arrested Krecioch on July 13, 1992, and he was  released on $100,000 bond.
    
    
      3
      In August, the DEA initiated administrative  forfeiture actions against the seized property.  Finding sufficient connection under 21 U.S.C.  sec. 881 between the property and drug-related  crimes, the federal government exercised its  authority to seize "[a]ll moneys . . . furnished  or intended to be furnished by any person in  exchange for a controlled substance," "[a]ll . .  . vehicles . . . used, or are intended for use,  to transport, or in any manner to facilitate the  transportation, sale, receipt, possession, or  concealment" of a controlled substance and "any  firearm . . . used or intended to be used to  facilitate the transportation, sale, receipt,  possession, or concealment" of a controlled  substance. 21 U.S.C. sec. 881(4), (6), (11). Each  of the seized properties in this case was valued  at $500,000 or less, so 19 U.S.C. sec. 1607  permitted the government to opt for  administrative forfeiture instead of judicial  forfeiture proceedings in district court.  Although it authorizes the government to execute  forfeiture actions outside of court supervision,  19 U.S.C. sec. 1607 also requires that "[w]ritten  notice of seizure together with information on  the applicable procedures shall be sent to each  party who appears to have an interest in the  seized article." 19 U.S.C. sec. 1607. Any  potential claimant is then entitled to file for  remission or mitigation of the forfeitures under  19 U.S.C. sec. 1618, or file a claim in district  court under 19 U.S.C. sec. 1608 to contest the  forfeitures through judicial proceedings.
    
    
      4
      On August 10, 1992, the DEA sent by certified  mail to Krecioch's home address written notices  of the forfeiture actions against the 1989  Lincoln limousine, 1988 Chevrolet Blazer and  $71,334 cash. His sister Camille Krecioch signed  the return receipts on August 14 and 15 but  apparently did not convey the notices to Krecioch  or inform him of the forfeiture proceedings. The  DEA also mailed the notices for the 1989 Lincoln  limousine and $2,150 cash to Krecioch's business  address, where Truhlar's wife signed the return  receipts. In addition, the DEA began publishing  the notices of forfeitures in the national  newspaper USA Today for three consecutive weeks  as required by 21 C.F.R. sec. 1316.75.
    
    
      5
      On August 10, the day of the mailings, Krecioch  was free on bond and living at home. Krecioch had  been offered a plea bargain but never signed the  proffered plea agreement. It was not until his  hearing on August 12, 1992, that Krecioch agreed  to plead guilty to drug-trafficking and firearms  charges. The district court revoked bond, sending  him immediately to jail, and later sentenced  Krecioch to ten years imprisonment and five years  supervised release. On September 2, 1992, the DEA  seized a 1984 Chevrolet Corvette from Krecioch's  residence and mailed written notice of the  seizure to Krecioch both at his residence and at  the Chicago Metropolitan Correctional Center  ("MCC"), where he was incarcerated. In addition,  on September 8, 1992, the DEA sent written notice  for the forfeiture action against the weapons to  Krecioch's home address, where his mother signed  the return receipt, but not to the MCC.
    
    
      6
      Krecioch did not file a claim under 19 U.S.C.  sec. 1608, which would have required the DEA to  refer the forfeiture actions to the United States  Attorney's Office for judicial forfeiture  proceedings under 19 U.S.C. sec. 1603(b). As a  result, the DEA issued declarations of  administrative forfeiture and claimed title to  the seized property under 19 U.S.C. sec. 1609(b).  Five years later, Krecioch sued in district court  and mounted a collateral attack on the  administrative forfeitures, arguing that the  forfeitures were ineffective because the DEA had  failed to give him adequate notice required by  the Due Process Clause of the Fifth Amendment.  The district court granted summary judgment for  the government, and Krecioch now appeals.
    
    II.  Analysis
    
      7
      Krecioch argues that the DEA violated his due  process rights by failing to provide actual  notice of the administrative forfeitures.  Krecioch does not dispute that notice via  certified mail is typically sufficient for due  process purposes, see, e.g., Mennonite Bd. of  Missions v. Adams, 462 U.S. 791, 800 (1983), and  he does not challenge the notice, mailed to him  in jail, for the Corvette. Krecioch challenges  the constitutional adequacy of the written  notices sent to his residence regarding only the  seizures of the 1989 Lincoln limousine, 1988  Chevrolet Blazer, cash and weapons.
    
    
      8
      With respect to the notices for the two  automobiles and cash, Krecioch argues the DEA  knew or should have known on August 10, 1992,  when it mailed the written notices, that the  notices would arrive at his residence after he  had been jailed and that he would not receive  them. Krecioch contends that the DEA officer who  appeared at his hearing on August 12 should have  served him at the hearing. With respect to the  notice for the weapons, Krecioch asserts that the  written notice mailed to his residence was  inadequate because the DEA knew at the time of  mailing on September 8, 1992, that he had been  jailed and would not receive it. Krecioch  contends that the DEA notices of the forfeiture  actions against his property thereby violated due  process and the forfeitures should be overturned.  Although the DEA executed the forfeitures through  administrative rather than judicial proceedings,  federal courts possess jurisdiction to review  collateral due process attacks on administrative  forfeitures, see Weng v. United States, 137 F.3d  709, 713 (2d Cir. 1998); United States v.  Woodall, 12 F.3d 791, 793 (8th Cir. 1993), and we  review de novo the district court's grant of  summary judgment. See Sarit v. U.S. Drug  Enforcement Admin., 987 F.2d 10, 13 (1st Cir.  1993).
    
    
      9
      The Supreme Court announced the standard for  due process in Mullane v. Central Hanover Bank &amp;  Trust, Co., 339 U.S. 306, 314 (1950): "An  elementary and fundamental requirement of due  process in any proceeding which is to be accorded  finality is notice reasonably calculated, under  all the circumstances, to apprise interested  parties of the pendency of the action and afford  them an opportunity to present their objections."  The operative question is whether notice was  adequate at the time that the notice was sent,  and due process is not satisfied "if the  notifying party knew or had reason to know that  notice would be ineffective." Sarit, 987 F.2d at  14. However, due process does not require actual  notice, so long as the government "acted  reasonably in selecting means likely to inform  the persons affected." Weigner v. City of New  York, 852 F.2d 646, 649 (2d Cir. 1988).
    
    
      10
      Notice of forfeiture by mail to the claimant's  residence is inadequate if the government knew  that the claimant would not receive it. See Small  v. United States, 136 F.3d 1334, 1338 (D.C. Cir.  1998); United States v. Rodgers, 108 F.3d 1247,  1252-54 (10th Cir. 1997); Woodall, 12 F.3d at  794; cf. Schluga v. City of Milwaukee, 101 F.3d  60, 63 (7th Cir. 1996). When the government mails  a notice to an address at which it knows the  claimant not to be, the notice typically violates  due process because it is not reasonably  calculated to apprise the claimant of the action.  See United States v. Giraldo, 45 F.3d 509, 511  (1st Cir. 1995); Woodall, 12 F.3d at 794. If it  does nothing more, the government knows for fact  that the claimant will never receive notice. When  the government does not know or reasonably cannot  discover the claimant's whereabouts, the  government may satisfy due process with mere  publication of a forfeiture notice. See Mullane,  339 U.S. at 317-19. However, when the claimant is  incarcerated or in government custody, the ease  of learning the claimant's location makes it in  most cases "unreasonable for the forfeiting  agency to fail to ascertain the location of one  it knows to be in government custody." Weng, 137  F.3d at 714. Thus, the government violates due  process when it purposely mails notice of  forfeiture to the claimant's residence knowing  that the claimant is incarcerated or in federal  custody. See Robinson v. Hanrahan, 409 U.S. 38,  40 (1972); Giraldo, 45 F.3d at 511; Torres v.  $36,256.80 U.S. Currency, 25 F.3d 1154, 1160-61  (2d Cir. 1994).
    
    
      11
      Krecioch was not incarcerated or in federal  custody until after the DEA mailed the forfeiture  notices for the cash and the two automobiles to  his home, and the DEA could not have known that  Krecioch would decide to plead guilty two days  after the mailings, see his bond revoked and  immediately be jailed in Chicago. All this was  uncertain at the time of mailing because Krecioch  had not consented to a plea agreement. The DEA  knew only that Krecioch was free on bond and  residing at the address to which the notices were  sent. There is no evidence that the DEA knew or  should have known at the time of mailing that  notice would be ineffective, and absent  exceptional circumstances, written notice of  forfeiture by certified mail to the claimant's  residence satisfies due process even if the  claimant does not receive actual notice as a  result. See United States v. Clark, 84 F.3d 378,  381 (10th Cir. 1996); Sarit, 987 F.2d at 14-15.  However, notice for Krecioch's weapons was  inadequate because the DEA mailed it to his  residence later, on September 8, when the DEA  knew that Krecioch was jailed at the MCC and no  longer living at his home address. On this basis,  we vacate summary judgment on Krecioch's due  process claim for his weapons but affirm summary  judgment on his claims for the automobiles and cash.
    
    
      12
      Krecioch cites United States v. Cupples, 112  F.3d 318, 320 (8th Cir. 1997), in which the  Eighth Circuit required actual notice when "the  government is prosecuting someone who is actively  contesting the criminal charges against him,  including a count of the indictment seeking  forfeiture." He insists that the DEA could have  easily effected actual notice by having the DEA  officer at his August 12 hearing give him actual  notice. We agree that this would have been  preferable for due process purposes, but due  process "does not, of course, require that  authorities use the best possible method of  notification." Towers v. City of Chicago, 173  F.3d 619, 628 (7th Cir. 1999). Krecioch was  entitled only to notice "reasonably calculated,  under all the circumstances, to apprise" him of  the forfeiture actions. Mullane, 339 U.S. at 314.  To the degree that Cupples requires actual notice  even when the claimant is free and available at  his home address, we disagree because due process  requires only that the government reasonably  believed that notice would be likely to reach  Krecioch. See Schluga, 101 F.3d at 63. In the  absence of bad faith, the forfeiture notices sent  by certified mail on August 10 to his then-  current address, received by his family members  and combined with newspaper publication, were  sufficient to satisfy the Mullane standard for  notice.
    
    III.  Conclusion
    
      13
      For the foregoing reasons, we Affirm summary  judgment with respect to the forfeiture of the  automobiles and cash but Reverse summary judgment  with respect to the three weapons seized from  Krecioch's home on July 8, 1992, and Remand for  further proceedings.
    
    